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                               IN THE UNITED STATES DISTRICT CIRCUIT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

 STEVEN KNURR, et al.,                                           )
                                                                 )
                                      Plaintiff,                 )   Civil Action No.: 1:16-cv-01031-TSE-MSN
                                                                 )
                        v.                                       )   CLASS ACTION
                                                                 )
 ORBITAL ATK, INC., et al.,                                      )
                                                                 )
                                      Defendants.
                                                                 )
                                                                 )



                DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO SEAL

            Defendants1 file this Response to Plaintiffs’ June 20 Motion to Seal (ECF 192) (“June 20

 Motion to Seal”). In Plaintiffs’ motion, Plaintiffs moved to seal material that Defendants have

 designated as confidential pursuant to the Stipulated Protective Order (ECF 125). In accordance

 with the Local Rules of this Court, Defendants hereby respond to the motion as follows:

            Plaintiffs’ June 20 Motion to Seal refers to redacted material in a brief filed under seal

 (ECF 191) which quotes from an exhibit previously filed under seal in this case. Plaintiffs

 previously filed a motion to seal a number of exhibits (ECF 175 & 176) and a brief in support

 (ECF 178). Defendants filed a Response to that prior sealing motion on June 22, 2018 (ECF

 218) (“June 22 Response”) that explained Defendants’ rationale for designating that material as

 confidential.       That Response also applies here because Plaintiffs’ June 20 Motion to Seal

 encompasses the same material discussed in the June 22 Response. Accordingly, Defendants

 incorporate by reference their June 22 Response and attach it hereto as Exhibit 1. The same

 justifications for filing that material under seal are equally applicable here: namely, the redacted

 1
     The term “Defendants” as used herein refers to all Defendants in this action other than Mark DeYoung.



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 material is designated as confidential under the Stipulated Protective Order (ECF 125) and meets

 the standards of this Court and Fourth Circuit precedent to remain protected from broader

 disclosure.

         Defendants thus respectfully request that the Court grant the Plaintiffs’ June 20 Motion to

 Seal. In the event the Court should require any further argument or factual information regarding

 the matters set forth in this response, or Defendants’ June 22 Response, Defendants respectfully

 request that they be given an opportunity to provide such additional material, and upon the

 request of the Court, would do so immediately.


 Dated: June 27, 2018
        Washington, DC

                                                      Respectfully submitted,

                                                      SHEARMAN & STERLING


                                                       /s/ Lyle Roberts
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of June 2018, a true and correct copy of the

 foregoing was served via CM/ECF filing on all counsel of record.




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